 

 

Case 1:19-mr-00971-JHR Document 3 Filed 10/11/19 Page 1 of 2

O Original

AO 93C_ (98/18) Warrant by Telephone or Olber Relwble Electronic Means

 

_.. 1) Duplicate Original
— = seein oh

 

UNITED STATES DISTRICT CourT

WQOOT HL ANTE 2

for the

In the Matter of the Search of
(Briefly describe the property to he searched
or identify the person by name and addrexs)
ROOM 310-A AT BEST WESTERN PLUS
MONTEZUMA INN & SUITES, 2020 N. GRAND AVE,
LAS VEGAS, NM 87701

 

WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located inthe = District of ___.. New Mexico __
Oidenufv the person or describe the property to he searched and give its location):

Robert Corbin Padilla, and see Attachment A.

 

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
Robert Corbin Padilla, and see Attachment B.

YOU ARE COMMANDED to execute this warrant on or before August 29, 2019 (not to exceed 14 days}
| in the daytime 6:00 a.m. to 10:00 p.m.  CVat any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom. or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the ee ust Qo an inventory

as required by law and promptly return this warrant and inventory to Jer
( uhied at Vagiswrate xkct~ ,

‘ Pursuant to 18 U.S.C. § 3103a(b), | find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

GO for days (nor tn exceed 30) J until, the facts justifying, the late

 

Date and time issued: BISA 127O4F pie .

City and state: Albuquerque, New Mexico

Pi we nante ¢ and title

  

 

 

 

 

 
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AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

 

 

 

 

Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
19MR971 08/15/0201 12:30 pm MARTINEZ, Scharlett
Inventory made in the presence of :
TFO R. Zamarron

 

Inventory of the property taken and name of any person(s) seized:

(1) Cell phone with Case (2) $9,500 of United States Currency

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: 08/15/2019 bes [0m

rr
Cj sxecutiny Oofficer’s signature

Thomas Long, Special Agent, DEA

Printed name and title

 

 

 

 

 
